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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

EMILIO TORRES,                     )
           Plaintiff,              )
                                   )      No. 1:18-cv-766
v.                                 )
                                   )      HONORABLE PAUL L. MALONEY
SALVATORE VITALE, ET AL.,          )
           Defendants.             )
                                   )

                                 JUDGMENT

      In accordance with the Opinion and Order entered on this date, JUDGMENT

hereby enters.

      IT IS SO ORDERED.

Date: April 19, 2019                   /s/ Paul L. Maloney
                                           Paul L. Maloney
                                           United States District Judge
